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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
                                             :       Criminal Case: 18-218 (TSC)
          v.                                 :
                                             :
                                             :
MARIIA BUTINA, also known as                 :
MARIA BUTINA,                                :
                                             :
                      Defendant.             :

                   UNOPPOSED MOTION FOR PROTECTIVE ORDER

       The United States of America, by and through its attorney, the United States Attorney for
the District of Columbia, hereby respectfully moves the Court for the entry of a protective order
governing the production of discovery by the parties in the above-captioned case. The United
States and counsel for defendant have reached an agreement as to the proposed protective order.
Therefore, the United States is authorized to represent to the Court that the defendant does not
oppose this motion or the entry of the attached protective order.
                                             Respectfully submitted,

                                             JESSIE K. LIU
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 472845

                                      By:              /s/
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Dated: August 8, 2018
